Case 4:07-cv-05944-JST Document 3214-8 Filed 12/18/14 Page 1 of 24




              EXHIBIT 8
        Case 4:07-cv-05944-JST Document 3214-8 Filed 12/18/14 Page 2 of 24



     Kathy L. Osborn (pro hac vice)                  Stephen M. Judge (pro hac vice)
     Ryan M. Hurley (pro hac vice)                   Faegre Baker Daniels LLP
     Faegre Baker Daniels LLP                        202 S. Michigan Street, Suite 1400
     300 N. Meridian Street, Suite 2700              South Bend, IN 46601
 3   Indianapolis, IN 46204                          Telephone: +1 574-234-4149
     Telephone: +1 317-237-0300                      Facsimile: +1 574-239-1900
 4   Facsimile: +1 317-237-1000                      steve.judge@FaegreBd.com
     kathy. osborn@FaegreBD . corn
 5   ryan. hurl ey(FaegreBD.com

 6   Jeffrey S. Roberts (pro hac vice)               Calvin L. Litsey (SBN 289659)
     Faegre Baker Daniels LLP                        Faegre Baker Daniels LLP
 7   3200 Wells Fargo Center                         1950 University Avenue, Suite 450
     1700 Lincoln Street                             East Palo Alto, CA 94303-2279
 8   Denver, CO 80203                                Telephone: +1 650-324-6700
     Telephone: +1303-607-3500                       Facsimile: +1 650-324-6701
 9   Facsimile: +1303-607-3600                       calvin. litseydFaegreBD.com
     j efiroherts@,FaegreBD .com
10

11
     Attorneys for Defendant Thomson SA
12

13                                UNITED STATES DISTRICT COURT

14                               NORTHERN DISTRICT OF CALIFORNIA

15                                       SAN FRANCISCO DIVISION
16   IN RE CATHODE RAY TUBE (CRT)                   No. 07-cv-5 944-SC
     ANTITRUST LITIGATION                           MDL No. 1917
17
                                                    AMENDED ANSWER OF THOMSON SA
18   This Document Relates to:                      TO P.C. RICHARD & SON LONG
                                                    ISLAND CORPORATION, ET AL.’S
19   P. C. Richard & Son Long Island Corporation,   FIRST AMENDED COMPLAINT
20   et al. v. Technicolor SA, et al., No. 13-cv-
     05 725;
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     AMENDED ANSWER OF THOMSON SA TO P.C. RICHARD                        No. 07-5944-SC; MDL No. 1917
     & SON LONG ISLAND CORPORATION, ET AL’S FIRST
     AMENDED COMPLAINT
         Case 4:07-cv-05944-JST Document 3214-8 Filed 12/18/14 Page 3 of 24



              Defendant Technicolor SA, f/k/a Thomson SA ("Thomson SA"), by and through its

 ’I undersigned counsel of record, answers P.C. Richard & Sons Long Island Corporation, MARIA

      Cooperative of America, Inc., and ABC Appliance, Inc., d/b/a ABC Warehouse’s (collectively

 4    "Plaintiffs") First Amended Complaint ("FAC") and alleges additional or affirmative defenses as

 5    follows. Thomson SA denies each and every allegation in the FAC’s section headings and in all

 6    portions of the FAC not contained in numbered paragraphs. To the extent that the FAC’s

 7    allegations concern persons or entities other than Thomson SA, Thomson SA denies that such

 8    allegations support any claim for relief against Thomson SA. Thomson SA denies any allegations

 9    not explicitly admitted herein.

10            1.      Thomson SA denies the allegations in Paragraphs 13, 14, 15, 36, 105, and 149 of

11    Plaintiffs’ FAC. To the extent these paragraphs consist of definitional allegations, no response is

12    required and Thomson SA therefore denies them.

13            2.      To the extent that the allegations in Paragraphs 1, 5 through 8, 11, 16, 17, 18, 20 , 23,

14    26, 37, 89 through 94, 102, 103, 104, 106 through 108, 110 through 138, 146, 178, 182, 183, 185,

15    186, 187, 199, 210, 214 through 228, 230 through 233, 235 through 239, 241 through 246, and 248

16    through 252, 256, and 257 of Plaintiffs’ FAC relate to persons or entities other than Thomson SA,

17    Thomson SA lacks knowledge or information sufficient to form a belief about their truth and

18    therefore denies them. To the extent the allegations in those paragraphs relate to Thomson SA,

19    Thomson SA denies them unless expressly admitted below. Further, Thomson SA denies that it

20    manufactured CRTs or CRT Products, but admits that Thomson Consumer manufactured CPTs and

21    CPT Products. Thomson SA admits on information and belief that other companies alleged to be

22    conspirators in the Complaint have manufactured CPTs and CDTs, but denies that Thomson SA

23    engaged in any conspiracy. To the extent the allegations in those paragraphs purport to define

WE markets or market activity which require expert opinion and testimony, Thomson SA denies them.

25    To the extent the allegations in those paragraphs are definitional allegations, no response is required

26    and Thomson SA therefore denies these allegations.

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28
      AMENDED ANSWER OF THOMSON SA TO P.C. RICHARD            I                 No. 07-5944-SC; MDL No. 1917
      & SON LONG ISLAND CORPORATION, ET AL.’S FIRST
      AMENDED COMPLAINT
        Case 4:07-cv-05944-JST Document 3214-8 Filed 12/18/14 Page 4 of 24



 1           3.     Thomson SA lacks knowledge or information sufficient to form a belief about the

 2   truth of the allegations in Paragraphs 19, 21, 22, 24,   25, 27, 33 through 35, 38 through 86, 96, 100,

 3   101, 109, 150 through 173, 201 through 204, 207, and 212 of Plaintiffs’ FAC and therefore denies

 4 I them.

 5           4.     To the extent that the allegations in Paragraphs 10, 174 through 177, 179, 180, 181,

 6   184, 189 through 197, 200, 205, 206, 208, 209, 211, 213, and 234 of Plaintiffs’ FAC purport to

 7   characterize written documents, Thomson SA denies that Plaintiffs have accurately or completely

 8   interpreted, characterized, or stated the substance or context of the written documents and therefore

 9   denies these allegations. To the extent those paragraphs contain additional allegations that relate to

10   persons or entities other than Thomson SA, Thomson SA lacks knowledge or information sufficient

11   to form a belief about their truth and therefore denies them. To the extent those paragraphs contain

12   allegations that relate to Thomson SA, Thomson SA denies them unless expressly admitted below.

13   To the extent the allegations in those paragraphs purport to define markets or market activity which

14   require expert opinion and testimony, Thomson SA denies them.

15           5.     Thomson SA admits that the allegations in Paragraphs 95, 97, 98, and 99 purport to

16   contain descriptions of CRT technology and history. Thomson SA denies that these allegations

17   completely and accurately describe all variants of CRT technology and therefore denies them. To

18   the extent the allegations in those paragraphs purport to define markets or market activity which

19   require expert opinion and testimony, Thomson SA denies them.

20           6.     With regard to the allegations in Paragraph 2 of Plaintiffs’ FAC, Thomson SA

21   admits that the allegations quote parts of its 2011 and 2012 Annual Reports, but denies any

22   emphasis or alterations in the quoted text and denies that it admitted to any wrongdoing in its

23   Annual Reports. Thomson SA also admits that the European Commission levied a fine of

24   38,631,000 million against it in 2012, but denies that the European Commission’s investigation or

25   allegations involved any violation of United States antitrust laws or had any relation to the United

26   States CRT market. Thomson SA denies any remaining allegations in Paragraph 2.

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28
     AMENDED ANSWER OF THOMSON SA TO P.C. RICHARD             2                No, 07-5944-SC; MDL No. 1917
     & SON LONG ISLAND CORPORATION, ET AL’S FIRST
     AMENDED COMPLAINT
        Case 4:07-cv-05944-JST Document 3214-8 Filed 12/18/14 Page 5 of 24



             7.      With regard to the allegations in Paragraphs 3 and 4 of Plaintiffs’ Complaint,

 2   Thomson SA denies that it manufactured CRTs or CRT Products, but admits that Thomson

 3   Consumer manufactured CPTs and CPT Products. Thomson SA admits on information and belief

 4   that other companies alleged to be conspirators in the Complaint have manufactured CPTs and

 5   CDTs, but denies that Thomson SA engaged in any conspiracy. Thomson SA denies that it

 6   controlled the "majority of the CRT industry" during the relevant period. Thomson SA lacks

 7   knowledge or information sufficient to form a belief about the truth of the other allegations in

 8   Paragraphs 3 and 4 and therefore denies them. To the extent the allegations in Paragraphs 3 and 4

 9   are definitional allegations, no response is required and Thomson SA therefore denies these

10   allegations.

11           8.      With regard to the allegations in Paragraph 9 of Plaintiffs’ FAC, Thomson SA

12   admits that European, Mexican, and Brazilian authorities have investigated Thomson SA or its

13   affiliates, but denies that those investigations have any relation to the United States CRT market or

14   have alleged or found violations of United States antitrust laws. Thomson SA further admits that

15   Thomson Consumer was subpoenaed by the Department of Justice, but states that Thomson

16   Consumer has not been subjected to criminal enforcement actions in the United States or ever

17   entered into a plea agreement with the Department of Justice. Thomson SA is aware that several

18   individuals, including C.Y. Lin, have been indicted for violations of antitrust laws, but denies that it

19   participated in any price-fixing conspiracy with these individuals, or that the actions of those

20   individuals had any relation to the allegations concerning Thomson Consumer’s activities in the

21   United States CPT market. Thomson SA denies any remaining allegations in Paragraph 9.

22           9.      With regard to the allegations in Paragraph 12 of Plaintiffs’ FAC, Thomson SA

23   admits that this case is properly related and consolidated with MDL No. 1917, but denies that it

24   participated in any conspiracy or engaged in any unlawful conduct in violation of federal and state

25   antitrust laws and denies that the MDL court has jurisdiction over Thomson SA. Thomson SA

26   denies any remaining allegations in Paragraph 12.

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28
     AMENDED ANSWER OF THOMSON SA TO P.C. RICHARD            3                  No. 07-5944-SC; MDL No. 1917
     & SON LONG ISLAND CORPORATION, ET AL’S FIRST
     AMENDED COMPLAINT
        Case 4:07-cv-05944-JST Document 3214-8 Filed 12/18/14 Page 6 of 24



 1           10.    With regard to the first three sentences of Paragraph 28, Thomson SA admits that it

 2   is a French corporation with its principal place of business located at 1-5 Rue Jeanne d’Arc, 92130

 3   Issy-.les-Moulineaux, France, but denies that Thomson SA ever manufactured, marketed, sold, or

 4   distributed CRT products to customers in the United States and denies the remaining allegations in

 5   the first three sentences. Thomson SA denies the allegations in the fourth sentence. To the extent

 6   that the allegations in the fifth through tenth sentences purport to characterize a written document,

 7   Thomson SA denies that Plaintiffs accurately or completely interpreted, characterized, or stated the

 8   substance or context of the written document, and therefore denies those allegations except as

 9   expressly admitted herein. With regard to the fifth sentence, Thomson SA admits that it sold its

10   CRT business to Videocon Industries, Ltd. in 2005 for 240 million. With regard to the sixth

11   sentence, Thomson SA admits that it invested 240 million in Videocon Industries, Ltd. in 2005 in

12   exchange for 28,867,200 shares of stock, but denies that the investment was "simultaneous" and

13   denies the remainder of the allegations in that sentence. Thomson SA states that the seventh

14   sentence is vague and ambiguous with respect to "help," "run the CRT business," and "transition

15   period," and therefore denies the allegations in that sentence. Thomson SA lacks information or

16   belief sufficient to form a belief about the truth of the allegations in the eighth sentence, despite

17   diligent efforts to locate relevant documents, and therefore denies these allegations. Further,

18   Thomson SA states that the references to "Thomson" in the seventh and eighth sentences of

19   Paragraph 28 are vague and ambiguous, and therefore denies the allegations in those sentences to

20   the extent not expressly admitted herein. With regard to the ninth sentence, Thomson SA admits

21   that Section 3.1 of the Shareholders’ Agreement between Thomson SA and Videocon provided that

22   "One member of the Board of Directors shall be nominated by Thomson," and admits that a

23   Thomson SA employee held a seat on the Videocon Board of Directors until 2009. With regard to

24   the tenth sentence, Thomson SA admits that it was a minority shareholder in Videocon affiliated

25   entities from July 2005 through the end of the Relevant Period, but otherwise denies that Plaintiffs’

26   allegations completely and accurately describe Thomson SA’s stock ownership in Videocon

27   affiliated entities during that time period. Thomson SA denies that its ownership interest in

28
     AMENDED ANSWER OF THOMSON SA TO P.C. RICHARD           4                 No. 07-5944-SC; MDL No. 1917
     & SON LONG ISLAND CORPORATION, ET AL.’S FIRST
     AMENDED COMPLAINT
        Case 4:07-cv-05944-JST Document 3214-8 Filed 12/18/14 Page 7 of 24



     Videocon at any point during the allegedly Relevant Period is legally significant in relation to the

 2   claims alleged in the Complaint. Thomson SA admits that it changed its name to Technicolor SA

 3   on or about January 2010. Thomson SA denies the allegations in the twelfth sentence of Paragraph

 4   28. Except as specifically admitted herein, Thomson SA denies the remaining allegations of

 5   Paragraph 28 in their entirety.

 6           ii.     With regard to the first four sentences of Paragraph 29, Thomson SA admits that

 7   Thomson Consumer Electronics, Inc. is now known as Technicolor USA, Inc. and that it is a

 8   Delaware corporation with its principal place of business located at 1033 N. Meridian Street,

 9   Indianapolis, Indiana 47290-1024. Thomson SA admits that Thomson Consumer is wholly owned

10   by Thomson SA, admits that Thomson Consumer had manufacturing plants in Scranton,

11   Pennsylvania and Marion, Indiana during portions of the Relevant Period, but denies that Thomson

12   Consumer directly owned CRT manufacturing plants in Mexicali, Mexico. Thomson SA admits

13   that Thomson Consumer sold CPTs for use in CRT televisions to television manufacturers in North

14   America during the portions of the Relevant Period, but denies the remaining allegations in the first

15   through fourth sentences. To the extent that the allegations in sentences five through ten purport to

16   characterize a written document, Thomson SA denies that Plaintiffs accurately or completely

17   interpreted, characterized, or stated the substance or context of the written document, and therefore

18   denies those allegations except as expressly admitted herein. With regard to the fifth sentence,

19   Thomson SA admits that Thomson Consumer’s CRT business was sold to Videocon Industries, Ltd.

20   in 2005. With regard to the allegation in the sixth through tenth sentences, Thomson SA

21   incorporates by reference its responses to the identical allegations in Paragraph 28, Thomson SA

22   states that the eleventh sentence is vague in regards to timeframe and denies the allegations in that

23   sentence, except that it admits that Thomson Displays America LLC was wholly owned by

24   Thomson Consumer before it was transferred to Videocon in July 2005. With regard to the twelfth

25   sentence, Thomson SA admits that Thomson Consumer changed its name to Technicolor USA, Inc.

26   in or about June 2010. With regard to the thirteenth sentence, Thomson SA admits that prior to the

27   sale of its CRT business in 2005, Thomson Consumer manufactured, marketed, sold, or distributed

28
     AMENDED ANSWER OFTHOMSON SATOP.C. RICHARD              5                 No. 07-5944-SC; MDL No. 1917
     & SON LONG ISLAND CORPORATION, ET AL.’S FIRST
     AMENDED COMPLAINT
        Case 4:07-cv-05944-JST Document 3214-8 Filed 12/18/14 Page 8 of 24



 I   CPT Products in the United States, but otherwise denies the allegations in that sentence. Thomson

 2   SA denies the remaining allegations of Paragraph 29 in their entirety.

 3           12.    With regard to the allegations in Paragraph 30, to the extent these allegations state

 4   legal contentions, no response is required. With regard to the allegations in sentence one, Thomson

 5   SA admits that it had sufficient minimum contacts with the United States during the Relevant

 6   Period to be subject to specific personal jurisdiction in the United States with respect to this action

 7   only. Thomson SA denies the allegations in sentences two through eight in their entirety. To the

 8   extent that the allegations in sentences nine through fourteen purport to characterize written

 9   documents, Thomson SA denies that Plaintiffs accurately or completely interpreted, characterized,

10   or stated the substance or context of the written documents and therefore denies those allegations.

     Thomson Consumer admits that the employees listed in sentences twelve and thirteen worked for

12   Thomson SA and/or Thomson Consumer during the Relevant Period, but denies that the

13   characterizations of employee titles, roles, and employment dates are accurate or complete and

14   therefore denies these allegations. Thomson SA further denies the allegations contained in sentence

15   fourteen because the term "stationed" is ambiguous and the allegations are vague as to time.

16   Thomson SA denies any remaining allegations in Paragraph 30.

17           13.    With regard to the allegations in Paragraph 31 of Plaintiffs’ Complaint, Thomson SA

18   states that any references to "Thomson" are vague and ambiguous and therefore denies such

19   allegations to the extent not expressly admitted herein. To the extent that the allegations of

20   Paragraph 31 purport to characterize a written document, Thomson SA denies that Plaintiffs

21   accurately or completely interpreted, characterized, or stated the substance or context of the written

22   document, and therefore denies those allegations. Thomson SA lacks knowledge or information

23   sufficient to form a belief as to the truth of the allegations contained in the first sentence and

24   therefore denies them. Thomson SA admits the allegations contained in the second and third

25   sentences of Paragraph 31. With regard to the fourth through eighth sentences, Thomson SA

26   incorporates by reference its responses to the substantially identical allegations in sentences six

27   through ten of Paragraph 28. In response to the ninth sentence, Thomson SA states that pursuant to

28
     AMENDED ANSWER OF THOMSON SA TO P.C. RICHARD            6                 No. 07-5944-SC; MDL No. 1917
     & SON LONG ISLAND CORPORATION, ET AL.’S FIRST
     AMENDED COMPLAINT
        Case 4:07-cv-05944-JST Document 3214-8 Filed 12/18/14 Page 9 of 24



 1   a September 30, 2005 Addendum to Share Purchase Agreement between Eagle Corporation and

 2   Thomson SA, the purchase price paid by Eagle Corporation was allocated in part "for the interest in

 3   Thomson Displays Americas LLC" and "for the shares of Mexicana," among other allocations.

 4   Thomson SA lacks knowledge or information sufficient to form a belief about the truth of the

 5   allegations in sentences ten and eleven and therefore denies these allegations. Thomson SA denies

 6   that any of the allegations in Paragraph 31 concerning Thomson SA’s agreement with and

 7   continued interest in Videocon support in any way Plaintiffs’ allegations that Thomson SA violated

 8   any laws. Thomson SA denies any remaining allegations in Paragraph 31.

 9           14.    With regard to the allegations in Paragraph 32 of Plaintiffs’ Complaint, Thomson SA

10   states that any references to "Thomson" are vague and ambiguous and therefore denies such

11   allegations to the extent not expressly admitted herein. To the extent that the allegations of

12   Paragraph 32 purport to characterize a written document, Thomson SA denies that Plaintiffs

13   accurately or completely interpreted, characterized, or stated the substance or context of the written

14   document and therefore denies those allegations. Thomson SA lacks knowledge or information

15   sufficient to form a belief about the truth of the allegations in sentences one and two, except that

16   Thomson SA admits that TDA was formerly known as Thomson Displays Americas LLC. With

17   regard to the third through sixth sentences, Thomson SA admits that Thomson Consumer

18   transferred certain assets to TDA as a capital contribution in 2005 in connection with the sale of its

19   CRT business to Videocon; despite diligent and ongoing searches for relevant records, however,

20   Thomson SA lacks knowledge or information sufficient to form a belief about the truth of the

21   remaining allegations regarding the details of the transfer of assets and rights, and therefore denies

22   the remaining allegations in those sentences. Thomson SA lacks knowledge or information

23   sufficient to form a belief about the truth of the allegations in sentences seven and eight and

24   therefore denies them. Thomson SA denies the allegations in sentence nine. With regard to the

25   allegations in the tenth sentence, Thomson SA admits that Brunk’s employment with Thomson

26   Consumer ended in July 2006, but lacks information sufficient to form a belief regarding with

27   whom Brunk was employed after leaving Thomson Consumer and therefore denies that he

28
     AMENDED ANSWER OF THOMSON SA TO P.C. RICHARD            7                 No. 07-5944-SC; MDL No. 1917
     & SON LONG ISLAND CORPORATION, ET AL.’S FIRST
     AMENDED COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-8 Filed 12/18/14 Page 10 of 24



 1   transitioned to work for TDA. Thomson SA further admits that Hanrahan’s employment with

 2   Thomson Consumer ended in February 2012, but lacks information sufficient to form a belief

 3   regarding with whom Hanrahan was employed after leaving Thomson Consumer and therefore

 4   denies that he transitioned to work for TDA. Thomson SA lacks knowledge or information

 5   sufficient to form a belief about the truth of the allegations in sentence eleven. Sentence twelve

 6   contains only a definitional allegation, to which no response is required and which Thomson SA

 7   therefore denies. Thomson SA denies that any of the allegations in Paragraph 32 concerning

 8   Thomson Consumer’s agreement with TDA support in any way Plaintiffs’ allegations that Thomson

 9   SA violated any laws. Thomson SA denies any remaining allegations in Paragraph 32.

10           15.     To the extent that the allegations in Paragraph 87 relate to persons or entities other

     than Thomson SA, Thomson SA lacks knowledge or information sufficient to form a belief as to

12   their truth and therefore denies them. To the extent that the allegations in Paragraph 87 relate to

13   Thomson SA, Thomson SA denies these allegations. Thomson SA denies any remaining

14   allegations in Paragraph 87,

15           16.     To the extent that the allegations in Paragraph 88 relate to persons or entities other

16   than Thomson SA, Thomson SA lacks knowledge or information sufficient to form a belief as to

17   their truth and therefore denies them, except that it admits that TCL Thomson was a joint venture

18   formed between Thomson SA and TCL International Holdings Ltd. Thomson SA ceased any

19   ownership or interest in TCL Thomson in 2010. Thomson SA denies any remaining allegations in

20   Paragraph 88.

21           17.     With regard to the allegations in Paragraphs 139 and 141 of Plaintiffs’ FAC,

22   Thomson SA admits that the allegations quote parts of its Annual Reports, but denies any emphasis

23   or alterations in the quoted text, denies that it admitted to any wrongdoing in its Annual Reports,

24   and denies that Plaintiffs have accurately or completely interpreted, characterized, or stated the

25   substance or context of the quoted statements. Thomson SA denies any remaining allegations in

26   Paragraphs 139 and 141.

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28
     AMENDED ANSWER OF THOMSON SA TO P.C. RICHARD           8                 No. 07-5944-SC; MDL No. 1917
     & SON LONG ISLAND CORPORATION, ET AL.’S FIRST
     AMENDED COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-8 Filed 12/18/14 Page 11 of 24



             18.      With regard to the allegations in Paragraph 140 of Plaintiffs’ FAC, Thomson SA

 2   states that the use of the term "Thomson" renders these paragraphs vague and uncertain as to

 3   Thomson SA. To the extent that the allegations purport to characterize written documents,

 4   Thomson SA denies that Plaintiffs have accurately or completely interpreted, characterized, or

 5   stated the substance or context of the written documents and therefore denies those allegations.

 6   Thomson SA admits that the European Commission investigated CRT price-fixing and levied fines

 7   against various companies, including a fine of 38,631,000 million against Thomson SA in 2012

 8   and that its fine was reduced due to Thomson SA’s cooperation and inability to pay, but denies that

 9   any allegations, conduct, or cooperation in Europe support in any way Plaintiffs’ allegations that

10   Thomson SA violated United States antitrust laws or that alleged conduct in Europe had any

II   relation to the United States CRT market. Thomson SA denies any and all remaining allegations in

12   Paragraph 140.

13           19.      With regard to the allegations in Paragraph 142 of Plaintiffs’ FAC, Thomson SA

14   states that any references to "Thomson" are vague and ambiguous. To the extent that the

15   allegations relate to persons or entities other than Thomson SA, Thomson SA lacks knowledge or

16   information sufficient to form a belief as to their truth and therefore denies them. To the extent that

17   the allegations relate to Thomson SA, Thomson SA denies these allegations. To the extent that the

18   allegations purport to characterize written documents and deposition testimony, Thomson SA

19   denies that Plaintiffs have accurately or completely interpreted, characterized, or stated the

20   substance or context of the written documents and therefore denies those allegations. Thomson SA

21   denies that it engaged in, or conspired with others to engage in, any violations of United States

22   antitrust laws. Thomson SA further denies that the alleged actions of individuals in Paragraph 142

23   would, if proven, be imputable to Thomson SA and that they relate to the sale of CRTs in the

24   United States.

25          20.       With regard to the allegations in Paragraph 143, Thomson SA admits solely that it

26   retained at least a de minimis ownership interest in Videocon between 2005 and the end of the

27   allegedly Relevant Period and with regard to which Thomson SA incorporates by reference its

28
     AMENDED ANSWER OF THOMSON SA TO P.C. RICHARD            9                 No. 07-5944-SC; MDL No. 1917
     & SON LONG ISLAND CORPORATION, ET AL.’S FIRST
     AMENDED COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-8 Filed 12/18/14 Page 12 of 24



 1   responses to sentences six and ten of Paragraph 28. Thomson SA denies that it participated in the

 2   alleged conspiracy, and denies that any of the allegations in Paragraph 143 concerning Thomson

 3   SA’s agreement with and continued interest in Videocon support in any way Plaintiffs’ allegations

 4   that Thomson SA violated any laws.

 5           21.     To the extent that the allegations in Paragraph 144 relate to persons or entities other

 6   than Thomson SA, Thomson SA lacks knowledge or information sufficient to form a belief as to

 7   their truth and therefore denies them. To the extent that the allegations in Paragraph 144 purport to

 8   characterize written documents and deposition testimony, Thomson SA denies that Plaintiffs have

 9   accurately or completely interpreted, characterized, or stated the substance or context of the written

10   documents and deposition testimony and therefore denies those allegations. To the extent that the

11   remaining allegations in Paragraph 144 relate to Thomson SA, Thomson SA denies these

12   allegations.

13           22.     With regard to the allegations in Paragraph 145, Thomson SA states that the use of

14   the term "Thomson" renders the allegations vague and uncertain as to Thomson SA. To the extent

15   that the allegations relate to persons or entities other than Thomson SA, Thomson SA lacks

16   knowledge or information sufficient to form a belief as to their truth and therefore denies them. To

17   the extent that the allegations purport to characterize written documents and deposition testimony,

18   Thomson SA denies that Plaintiffs have accurately or completely interpreted, characterized, or

19   stated the substance or context of the written documents and deposition testimony and therefore

20   denies those allegations. To the extent that the allegations relate to Thomson SA, Thomson SA

21   denies these allegations.

22           23.     With regard to the allegations in Paragraph 147, Thomson SA states that the use of

23   the term "Thomson" renders the allegations vague and uncertain as to Thomson SA. To the extent

24   that the allegations relate to persons or entities other than Thomson SA, Thomson SA lacks

25   knowledge or information sufficient to form a belief as to their truth and therefore denies them.

26   With respect to the allegations contained in the sixth sentence, Thomson SA admits that Didier

27   Trutt received and occupied a seat on Videocon’s board until 2009, but denies the remaining

28
     AMENDED ANSWER OF THOMSON SA TO P.C. RICHARD           10                 No. 07-5944-SC; MDL No. 1917
     & SON LONG ISLAND CORPORATION, ET AL.’S FIRST
     AMENDED COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-8 Filed 12/18/14 Page 13 of 24



 1   allegations in the sixth sentence. To the extent that the remaining allegations in Paragraph 147

 2   relate to Thomson SA, Thomson SA denies these allegations. Thomson SA denies that any of the

 3   allegations in Paragraph 147 concerning Thomson SA’s agreement with and continued interest in

 4   Videocon support in any way Plaintiffs’ allegations that Thomson SA violated any laws.

 5          24.     With regard to the allegations in Paragraph 148, Thomson SA states that the use of

 6   the term "Thomson" renders the allegations vague and uncertain as to Thomson SA. Thomson SA

 7   admits that Brunk’s employment with Thomson Consumer ended in July 2006, but lacks

 8   information sufficient to form a belief regarding with whom Brunk was employed after leaving

 9   Thomson Consumer and therefore denies that he transitioned to work for TDA. Thomson SA

10   further admits that Hanrahan’s employment with Thomson Consumer ended in February 2012, but

11   lacks information sufficient to form a belief regarding with whom Hanrahan was employed after

12   leaving Thomson Consumer and therefore denies that he transitioned to work for TDA. Thomson

13   SA denies that Brunk and Hanrahan attended conspiracy meetings on behalf of Thomson Consumer

14   or Thomson SA. To the extent that the remaining allegations relate to persons or entities other than

15   Thomson SA, Thomson SA lacks knowledge or information sufficient to form a belief as to their

16   truth and therefore denies them. To the extent that the remaining allegations relate to Thomson SA,

17   Thomson SA denies these allegations. Thomson SA denies that any of the allegations in Paragraph

18   148 concerning Thomson Consumer’s agreement with TDA support in any way Plaintiffs’

19   allegations that Thomson SA violated any laws.

20          25.     With regard to the allegations in Paragraphs 188 and 198 of Plaintiffs’ Complaint,

21   Thomson SA states that the use of the term "Thomson" renders these paragraphs vague and

22   uncertain as to Thomson SA and therefore denies such allegations to the extent not expressly

23   admitted herein. Thomson SA admits that the European Commission opened an investigation, but

24   lacks knowledge or information sufficient to form a belief as to the truth of the remaining

25   allegations regarding the scope or timing of the investigations and therefore denies them. Thomson

26   SA admits that the European Commission alleged that several companies, including Thomson SA,

27   engaged in anticompetitive conduct in Europe and levied a fine of 38,631,000 million against

28
     AMENDED ANSWER OF THOMSON SA TO P.C. RICHARD                            No. 07-5944-SC; MDL No. 1917
     & SON LONG ISLAND CORPORATION, ET AL.’S FIRST
     AMENDED COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-8 Filed 12/18/14 Page 14 of 24



 1   Thomson SA in 2012, but denies that the European Commission’s investigation or allegations in

 2   Europe support in any way Plaintiffs’ allegations that Thomson SA violated any United States

 3   antitrust laws or that alleged conduct in Europe had any relation to the United States CRT market.

 4   Thomson SA denies any remaining allegations in Paragraphs 188 and 189.

 5           26.     To the extent Paragraph 229 consists of legal contentions, no response is required.

 6   To the extent that Paragraph 229 purports to characterize a written document, Thomson SA denies

 7   that Plaintiffs accurately or completely interpreted, characterized, or stated the substance or context

 8   of the written document and therefore denies the allegations in Paragraph 229. Thomson SA further

 9   states that any references to "Thomson" are vague and ambiguous and therefore denies such

10   allegations to the extent not expressly admitted herein. Thomson SA further denies that it

11   participated in any conspiracy to violate antitrust laws or engaged in any efforts to conceal such a

12   conspiracy. Thomson SA denies any remaining allegations in Paragraph 229.

13           27.     With regard to Paragraphs 240 and 247, Thomson SA incorporates by reference all

14   of the above responses and statements.

15           28.     With regard to Paragraphs 253 through 255, Thomson SA states that Plaintiffs’

16   Arizona, Illinois, and Michigan state-law claims have been dismissed and therefore no response is

17   required. To the extent a response is required and the allegations in those paragraphs relate to

18   persons or entities other than Thomson SA, Thomson SA lacks knowledge or information sufficient

19   to form a belief about their truth and therefore denies them. To the extent a response is required and

20   the allegations relate to Thomson SA, Thomson SA denies them.

21                                                 DEFENSES

22           Without assuming any burden it would not otherwise bear, and reserving its right to amend

23   its Answer to assert additional defenses as they may become known during discovery, Thomson SA

24   asserts the following separate, additional, and/or affirmative defenses:

25                                              FIRST DEFENSE

26                                          (Failure to State a Claim)

27           The FAC fails to state a claim upon which relief can be granted.

28
     AMENDED ANSWER OF THOMSON SA TO P.C. RICHARD            12                 No. 07-5944-SC; MDL No. 1917
     & SON LONG ISLAND CORPORATION, ET AL’S FIRST
     AMENDED COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-8 Filed 12/18/14 Page 15 of 24



 I                                                SECOND DEFENSE

 2                                            (Statute of Limitations)

 3           Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or in part,

 4   by the applicable statutes of limitations.

 5                                                THIRD DEFENSE

 6                                 (Failure to Plead Fraud with Particularity)

 7           The statutes of limitations are not tolled because Plaintiffs have failed to plead fraudulent

 8   concealment with the particularity required by Rule 9(b) of the Federal Rules of Civil Procedure.

 9                                                FOURTH DEFENSE

10                              (Failure to Plead Conspiracy with Particularity)

11           Plaintiffs’ claims are barred, in whole or part, because the FAC fails to plead conspiracy

12   with particularity required under applicable law.

13                                                FIFTH DEFENSE

14                                                  (Withdrawal)

15           Plaintiffs’ claims are barred, in whole or in part, by reason of Thomson SA’s withdrawal

16   from or abandonment of any alleged conspiracy.

17                                                SIXTH DEFENSE

18                                 (Claim Splitting and Election of Remedies)

19           Plaintiffs’ claims are barred, in whole or in part, by reason of claim splitting and by the

20   doctrine of the election of remedies.

21                                            SEVENTH DEFENSE

22                                                    (Laches)

23           Plaintiffs’ claims are barred, in whole or in part, under the doctrine of laches.

24                                                EIGHTH DEFENSE

25                                   (Estoppel, Waiver, or Unclean Hands)

26           Plaintiffs’ claims are barred, in whole or in part, under the doctrines of estoppel, waiver,

27   and/or unclean hands.

28
     AMENDED ANSWER OF THOMSON SA TO P.C. RICHARD            13                 No. 07-5944-SC; MDL No. 1917
     & SON LONG ISLAND CORPORATION, ET AL.’S FIRST
     AMENDED COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-8 Filed 12/18/14 Page 16 of 24



 1                                              NINTH DEFENSE

 2                                          (Reasonable Justification)

 3           Plaintiffs’ claims are barred, in whole or in part, because all of the actions of Thomson SA

 4   being challenged by Plaintiffs were lawful, justified, procompetitive, constitute bona fide business

 5   competition, and were carried out in furtherance of Thomson SA’s legitimate business interests.

 6                                             TENTH DEFENSE

 7                                                (Acquiescence)

 8           Plaintiffs’ claims are barred, in whole or in part, by reason of Plaintiffs’ acquiescence to the

 9   conduct of Thomson SA.

10                                           ELEVENTH DEFENSE

11                              (Accord and Satisfaction, Release, and Settlement)

12           Plaintiffs’ claims are barred, in whole or in part, by the doctrines of accord and satisfaction,

13   release, and settlement.

14                                           TWELFTH DEFENSE

15                                   (Government Privilege/Non-Actionable)

16           Plaintiffs’ claims are barred, in whole or in part, because the conduct of Thomson SA

17   alleged in the FAC was caused by, due to, based upon, or in response to directives, laws,

18   regulations, policies, and/or acts of governments, governmental agencies and entities, and/or

19   regulatory agencies, and as such is non-actionable or privileged.

20                                         THIRTEENTH DEFENSE

21                                              (Lack of Standing)

22           Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs lack standing to bring the

23   claims asserted in the FAC.

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     AMENDED ANSWER OF THOMSON SA TO P.C. RICHARD            14                 No. 07-5944-SC; MDL No. 1917
     & SON LONG ISLAND CORPORATION, ET AL’S FIRST
     AMENDED COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-8 Filed 12/18/14 Page 17 of 24



                                           FOURTEENTH DEFENSE

 2                                                 (Ultra Vires)

 3           Plaintiffs’ claims are barred, in whole or in part, because, to the extent that any employee or

 4   agent of Thomson SA engaged in any unlawful act or omission, any such act or omission would

 5   have been committed by individuals acting ultra vires.

 6                                           FIFTEENTH DEFENSE

 7                                             (Intervening Causes)

 8           Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs’ alleged injuries, if any,

 9   stemmed from intervening or superseding causes.

10                                          SIXTEENTH DEFENSE

11                                          (Lack of Antitrust Injury)

12           Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs have not suffered an

13   antitrust injury.

14                                        SEVENTEENTH DEFENSE

15                                           (No Act of Thomson SA)

16           Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs have not been injured in

17   their business or property by reason of any action of Thomson SA.

18                                         EIGHTEENTH DEFENSE

19                                            (Speculative Damages)

20           Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs’ alleged damages, if any,

21   are speculative and because of the impossibility of the ascertainment and allocation of such alleged

22   damages.

23                                         NINETEENTH DEFENSE

24                                        (Failure to Mitigate Damages)

25           Plaintiffs’ claims are barred from recovery of damages, in whole or in part, because of and

26   to the extent of Plaintiffs’ failure to mitigate damages.

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     AMENDED ANSWER OFTHOMSONSATOPC. RICHARD                     15            No. 07-5944-SC; MDL No. 1917
     & SON LONG ISLAND CORPORATION, ET AL’S FIRST
     AMENDED COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-8 Filed 12/18/14 Page 18 of 24



 I                                          TWENTIETH DEFENSE

 2                                               (Pass Through)

 3           Plaintiffs’ claims for an illegal overcharge are barred, in whole or in part, to the extent that

 4   such overcharge was absorbed, in whole or in part, by others, and was not passed through to

 5   Plaintiffs.

 6                                       TWENTY-FIRST DEFENSE

 7                                          (Available Remedy at Law)

 8           Plaintiffs’ claims or causes of action for injunction or other equitable relief are barred, in

 9   whole or in part, because Plaintiffs have available an adequate remedy at law.

10                                      TWENTY-SECOND DEFENSE

11                                 (Lack of Standing for Prospective Relict)

12           Plaintiffs’ claims or causes of action are barred, in whole or in part, because Plaintiffs seek

13   to enjoin alleged events that have already transpired and without the requisite showing of threatened

14   future harm or continuing violation.

15                                       TWENTY-THIRD DEFENSE

16                                                 (Vagueness)

17           Plaintiffs’ claims should be dismissed for uncertainty and vagueness and because its claims

18   are ambiguous or unintelligible. Plaintiffs do not describe the events or legal theories with sufficient

19   particularity to permit Thomson SA to ascertain what other defenses may exist.

20                                      TWENTY-FOURTH DEFENSE

21                                             (Unjust Enrichment)

22           Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs would be unjustly

23   enriched if they were allowed to recover any part of the damages alleged in the FAC.

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     AMENDED ANSWER OF THOMSON SA TO P.C. RICHARD            16                 No. 07-5944-SC; MDL No. 1917
     & SON LONG ISLAND CORPORATION, ET AL.’S FIRST
     AMENDED COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-8 Filed 12/18/14 Page 19 of 24



 1                                        TWENTY-FIFTH DEFENSE

 2                                                 (Restitution)

 3           Plaintiffs’ claims are barred from recovery of damages, in whole or in part, to the extent that

 4   any restitution or award of damages to Plaintiffs would be excessive and punitive, and

 5   disproportionate to any alleged injury suffered by Plaintiffs.

 6                                       TWENTY-SIXTH DEFENSE

 7                                             (Comparative Fault)

 8           Plaintiffs’ claims are barred, in whole or in part, to the extent the injuries alleged in the FAC

 9   were directly and proximately caused by or contributed to by the statements, acts, or omissions of

10   Plaintiffs or third persons or entities unaffiliated with Thomson SA.

11                                     TWENTY-SEVENTH DEFENSE

12                                   (Res Judicata or Collateral Estoppel)

13           Plaintiffs’ claims are barred, in whole or in part, by the doctrines of res judicata or collateral

14   estoppel.

15                                      TWENTY-EIGHTH DEFENSE

16                               (Foreign Trade Antitrust Improvements Act)

17          Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs have failed to allege facts

18   sufficient to support a claim under the Foreign Trade Antitrust Improvements Act, 15 U.S.C. § 6a.

19                                       TWENTY-NINTH DEFENSE

20                                                (Foreign Sales)

21          Plaintiffs’ claims are barred, in whole or in part, to the extent Plaintiffs seek to recover

22   damages, if any, based on sales outside of the United States.

23                                          THIRTIETH DEFENSE

24                                             (Improper Joinder)

25          Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs’ claims are improperly

26   joined within the meaning of Rule 20 of the Federal Rules of Civil Procedure because they did not

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     AMENDED ANSWER OF THOMSON SA TO P.C. RICHARD            17                 No. 07-5944-SC; MDL No, 1917
     & SON LONG ISLAND CORPORATION, ET AL.’S FIRST
     AMENDED COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-8 Filed 12/18/14 Page 20 of 24



     arise out of the same transaction, occurrence, or series of transactions or occurrences and do not

 2   involve questions of law or fact common to all defendants.

 3                                        THIRTY-FIRST DEFENSE

 4                                       (Failure to Exhaust Remedies)

 5          Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs failed to exhaust all

 6   remedies against the parties with whom Plaintiffs are in privity.

 7                                      THIRTY-SECOND DEFENSE

 8                                          (No Multiple Recoveries)

 9           Plaintiffs’ claims are barred, in whole or in part, to the extent they would result in Thomson

10   SA paying damages to more than one claimant for the same alleged overcharge, because such

11   multiple recoveries would violate rights guaranteed to the Thomson SA by applicable states’ laws

12   and the United States Constitution, including, without limitation, rights guaranteed under the Due

13   Process Clause of the Fourteenth Amendment.

14                                       THIRTY-THIRD DEFENSE

15                                      (Voluntary Payment Doctrine)

16          Plaintiffs’ claims are barred, in whole or in part, by the voluntary payment doctrine, under

17   which Plaintiffs are not entitled to recover payments made with full knowledge of the facts.

18                                      THIRTY-FOURTH DEFENSE

19                                                   (Set Oft)

20          Without admitting that Plaintiffs are entitled to recover damages from Thomson SA in this

21   matter, Thomson SA is entitled to set off from any recovery Plaintiffs obtain against Thomson SA

22   any amount paid to under settlements with other defendants in this or related matters.

23                                        THIRTY-FIFTH DEFENSE

24                                                  (Privilege)

25          Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or in part,

26   because any action taken by or on behalf of Thomson SA was justified, constituted bona fide

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     AMENDED ANSWER OF THOMSON SA TO P.C. RICHARD            18               No. 07-5944-SC; MDL No. 1917
     & SON LONG ISLAND CORPORATION, ET AL.’S FIRST
     AMENDED COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-8 Filed 12/18/14 Page 21 of 24



 1   business competition, and was taken in pursuit of its own legitimate business and economic interests

 2   and is therefore privileged.

 3                                          THIRTY-SIXTH DEFENSE

 4                                          (Noerr-Pennington Doctrine)

 5             Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or in part,

 6   by the doctrine of Noerr-Pennington.

 7                                        THIRTY-SEVENTH DEFENSE

 8                                            (Forum Non Conveniens)

 9             The FAC should be dismissed on the grounds of forum non conveniens to the extent the

10   claims are governed by the laws of foreign states.

11                                        THIRTY-EIGHTH DEFENSE

12                                                (Improper Venue)

13             Plaintiffs’ claims are barred, in whole or in part, because venue does not lie in this Court.

14                                          THIRTY-NINTH DEFENSE

15                                        (Improper Forum/Arbitration)

16             Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or in part,

17   because Plaintiffs have agreed to arbitration or chose a different forum for the resolution of their

18   claims.

19                                             FORTIETH DEFENSE

20                                             (Intervening Conduct)

21             Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or in part,

22   because any alleged injuries and damages were not legally or proximately caused by any acts or

23   omissions of the Thomson SA or were caused, if at all, solely and proximately by the conduct of

24   third parties, including, without limitations, the prior, intervening, or superseding conduct of such

25   third parties.

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     AMENDED ANSWER OF THOMSON SA TO P.C. RICHARD              19                 No. 07-5944-SC; MDL No. 1917
     & SON LONG ISLAND CORPORATION, ET AL’S FIRST
     AMENDED COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-8 Filed 12/18/14 Page 22 of 24



 1                                           FORTY-FIRST DEFENSE

 2                                     (Lack of Subject Matter Jurisdiction)

 3           This Court lacks subject-matter jurisdiction over Plaintiffs’ claims pursuant to, but not

 4   limited to, the Foreign Trade Antitrust Improvements Act, and because the conduct alleged to

 5   provide a basis for Plaintiffs’ claims did not have a direct, substantial, and reasonably foreseeable

 6   effect on trade or commerce within the United States.

 7                                        FORTY-SECOND DEFENSE

 8                                  (Lack of Standing - State Antitrust Claims)

 9           Plaintiffs’ claims against Thomson SA should be dismissed because Plaintiffs lack standing

10   to prosecute their state antitrust claims, in whole or in part, under, without limitation, N.Y. Gen.

11   Bus. Law §S 340, etseq.

12                                           FORTY-THIRD DEFENSE

13                                                (Indispensable Parties)

14           Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or in part,

15   for failure to join indispensable parties.

16                                        FORTY-FOURTH DEFENSE

17                                     (Incorporation of Defenses of Others)

18           Thomson SA adopts by reference any applicable defense pleaded by any other defendant not

19   otherwise expressly set forth herein.

20                                           FORTY-FIFTH DEFENSE

21                                        (Reservation of Other Defenses)

22           Thomson SA reserves the right to assert other defenses as this action proceeds up to and

23   including the time of trial.

24                                  THOMSON SA’S PRAYER FOR RELIEF

25           WHEREFORE, Thomson SA prays for judgment as follows:

26           1.        That Plaintiffs take nothing by reason of the FAC, and that the action be dismissed

27   with prejudice;

28
     AMENDED ANSWER OF THOMSON SA TO P.C. RICHARD               20              No. 07-5944-SC; MDL No. 1917
     & SON LONG ISLAND CORPORATION, ET AL.’S FIRST
     AMENDED COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-8 Filed 12/18/14 Page 23 of 24



 I           2.         That the Court enter judgment in favor of Thomson SA and against Plaintiffs with

 2   respect to all causes of action in the FAC;

 3           3.         That the Court award Thomson SA its attorneys’ fees and other costs reasonably

 4   incurred in the defense of this action; and

 5           4.         That the Court award Thomson SA such other further relief as the Court may deem

 6   just and proper.

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     AMENDED ANSWER OF THOMSON SA TO P.C. RICHARD          21               No. 07-5944-SC; MDL No. 1917
     & SON LONG ISLAND CORPORATION, ET AL. ’S FIRST
     AMENDED COMPLAINT
           Case 4:07-cv-05944-JST Document 3214-8 Filed 12/18/14 Page 24 of 24



 1       Dated: January   , 2015                         Respectfully submitted,

 2
                                                         /s/ Kathy L. Osborn
 3
                                                          Kathy L. Osborn (pro hac vice)
 4                                                        Ryan M. Hurley (pro hac vice)
                                                          Faegre Baker Daniels LLP
 5                                                        300 N. Meridian Street, Suite 2700
                                                          Indianapolis, IN 46204
 6                                                        Telephone: +1 317-237-0300
                                                          Facsimile: +1 317-237-1000
 7                                                        kathy.osborn@FaegreBD.com
                                                          ryan. hurl ey(lFaegreBD .com
 8
                                                         Jeffrey S. Roberts (pro hac vice)
 9   1
                                                         Faegre Baker Daniels LLP
                                                         3200 Wells Fargo Center
10                                                       1700 Lincoln Street
                                                         Denver, CO 80203
11                                                       Telephone: +1 303-607-3500
                                                         Facsimile: +1 303-607-3600
12                                                       jeffroberts(FaegreBD.com

13                                                       Stephen M. Judge (pro hac vice)
                                                         Faegre Baker Daniels LLP
14                                                       202 S. Michigan Street, Suite 1400
                                                         South Bend, IN 46601
15                                                       Telephone: +1 574-234-4149
                                                         Facsimile: +1 574-239-1900
16                                                       steve.j udge(FaegreBd .com

17                                                       Calvin L. Litsey (SBN 289659)
                                                         Faegre Baker Daniels LLP
18                                                       1950 University Avenue, Suite 450
                                                         East Palo Alto, CA 94303-2279
19                                                       Telephone: +1 650 324-6700
                                                         Facsimile: +1 650 324-6701
20                                                       calvin. litsevliFaereBD.com

21                                                       Attorneys for Defendant Thomson SA

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         AMENDED ANSWER OF THOMSON SA TO P.C. RICHARD      22                No. 07-5944-SC; MDL No. 1917
         & SON LONG ISLAND CORPORATION, ET AL.’S FIRST
         AMENDED COMPLAINT
